 Case 24-20361        Doc 7   Filed 05/03/24    Entered 05/03/24 00:31:34            Page 1 of 1




                                               Certificate Number: 15317-CT-DE-038440436
                                               Bankruptcy Case Number: 24-20361


                                                             15317-CT-DE-038440436




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on May 2, 2024, at 8:38 o'clock PM PDT, Hattie L Leggett
completed a course on personal financial management given by internet by
Access Counseling, Inc., a provider approved pursuant to 11 U.S.C. 111 to
provide an instructional course concerning personal financial management in the
District of Connecticut.




Date:   May 2, 2024                            By:      /s/Madelyn Kotb


                                               Name: Madelyn Kotb


                                               Title:   Counselor
